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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS



UNITED STATES OF AMERICA

               v.                                       Criminal Action No. 1:24-cr-10121-ADB

DANIEL LOUGHMAN,

        Defendant.


                                  NOTICE OF APPEARANCE

       Please enter my appearance as counsel for defendant Daniel Loughman in the above-

captioned case.

                                                       Respectfully submitted,

                                                       /s/ Alexandra Arnold
                                                       Alexandra Arnold (BBO #706208)
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Dated: September 30, 2024




                                 CERTIFICATE OF SERVICE

        I hereby certify that this document, filed through the ECF system will be sent
electronically to the registered participants, as identified on the Notice of Electronic Filing, on
September 30, 2024.

                                                       /s/ Alexandra Arnold
                                                       Alexandra Arnold
